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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

TRUMP MEDIA & TECHNOLOGY
GROUP CORP.,

        Plaintiff,

v.                                              Case No. 8:23-cv-1535-TPB-AAS

WP COMPANY LLC,

        Defendant.
                                  /

               ORDER DENYING PLAINTIFF’S MOTION TO REMAND

        This matter is before the Court on Plaintiff’s “Motion to Remand to State Court”

(Doc. 7). Defendant’s original notice of removal (Doc. 1) contained an obvious scrivener’s

error stating that Defendant is a citizen of Delaware, a fact that would defeat diversity

jurisdiction, despite alleging that complete diversity existed and setting forth specific

allegations demonstrating that Defendant is a citizen only of Washington. Defendant

filed a corrected notice of removal acknowledging it made a mistake, and clarifying that

Defendant is a citizen of Washington. (Doc. 13).

        “Defective allegations of jurisdiction may be amended, upon terms, in the trial or

appellate courts.” 28 U.S.C. § 1653. Plaintiff’s only ground for seeking remand is

therefore moot. As it appears there is complete diversity of citizenship and the amount

in controversy exceeds $75,000, the motion to remand is DENIED. Plaintiff’s “Motion to

Shorten Deadlines and Expedite” (Doc. 11) is also DENIED.

        Had Plaintiff’s counsel simply conferred with opposing counsel, as required by

Local Rule 3.01(g), Defendant’s mistake would certainly have been identified and

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corrected, and this entire round of motion practice – including approximately 20 total

pages of unnecessary filings – would have been avoided. The Court notes that in the

short life of this case both parties have already violated Rule 1, Fed. R. Civ. P., which

requires that the rules of procedure be employed by the parties “to secure the just,

speedy, and inexpensive determination of every action and proceeding.” See (Docs. 19;

20). Advocacy that violates Rule 1 is not effective.

        DONE and ORDERED in Chambers, in Tampa, Florida, this 12th day of October,

2023.




                                                        TOM BARBER
                                                        UNITED STATES DISTRICT JUDGE




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